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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  AUTOMATED PET CARE PRODUCTS,                       Case No. 22-cv-04261-VC
  LLC,
                 Plaintiff,                          ORDER GRANTING SMARTY
                                                     PEAR’S MOTION TO DISMISS
          v.                                         WHISKER’S PATENT
                                                     INFRINGEMENT CLAIM AND
  PURLIFE BRANDS, INC. D/B/A                         GRANTING WHISKER’S MOTION
  SMARTY PEAR, A DELAWARE                            TO DISMISS SMARTY PEAR’S
  CORPORATION, et al.,                               COUNTERCLAIMS
                 Defendants.                         Re: Dkt. Nos. 69, 82


       For the reasons discussed at the hearing, Whisker’s motion to dismiss Smarty Pear’s

counterclaims is granted. See Dkt. No. 82. Dismissal is with leave to amend. If Smarty Pear

believes in good faith it can allege the counterclaims with adequate specificity, it must file

amended counterclaims within 14 days of this order.

       Smarty Pear’s motion to dismiss Whisker’s patent infringement claim based on the ’185
patent is granted. See Dkt. No. 69. As to this claim, Whisker’s Second Amended Complaint

suffers from the same deficiency the Court noted in its prior order—the photos in the complaint

belie the assertion that any portion of the rear of the chamber remains uncovered in the Leo’s

Loo products. See Dkt. No. 56 at 1; see also Dkt. No. 58 at 11, 31. Last time, Whisker tried to

overcome this problem by depicting the Leo’s Loo products in disassembled form in its claim

chart. See Dkt. No. 56 at 1; Dkt. No. 25-1 at 94. This time, Whisker concedes the product must

infringe the patent in its assembled form but argues that the patent requires only that a portion of
the rear of the chamber remain uncovered by the bonnet, even if that same portion is covered by
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some other part, such that no portion of the rear of the chamber in fact remains uncovered. Dkt.

No. 74 at 5–7.

       On Whisker’s reading, the patent claim would seem to capture a device whose front is

fully covered too—so long as it is not fully covered by the bonnet. See Dkt. No. 58-1 at 29

(describing “a bonnet, which … extends over the portion of the chamber so that a front and a

rear of the outside wall of the chamber remain uncovered by the bonnet[.]”) (emphasis added).

One wonders how a pet would ever make its way into such a device. See id. (besides the bonnet,

describing only a “support base”—without any opening through which a pet might enter—and a

“chamber” with “an entry opening” that, according to Whisker’s reading, could be fully sealed

upon placement of the bonnet on the support base). In any event, the drawings in the patent

itself—which is attached as an exhibit to the operative complaint—make clear that the claim

language means what it sounds like: a “band-like shape[d]” bonnet extends over the chamber,

attaching to the support base on either side of the chamber, leaving the front and the back of the

chamber uncovered. See Dkt. No. 58-1 at 4–5.

       This is not a matter of claim construction, as Whisker insists. Whisker’s reading of the

claim elements is simply implausible on its face, and so its patent infringement claim must be

dismissed. Given that Whisker’s own images and claim charts demonstrate that no portion of the

rear of the chambers in the Leo’s Loo products remains uncovered when the product is fully
assembled, further amendment would be futile, and so dismissal of this claim is with prejudice.



       IT IS SO ORDERED.

Dated: July 17, 2023
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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